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 2
                                    UNITED STATES DISTRICT COURT
 3
                                          DISTRICT OF NEVADA
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                                                      ***
 5
     UNITED STATES OF AMERICA,         )
 6                                     )
               Plaintiff-Appellant,    )                     2:10-cr-003-JCM
 7                                     )
   vs.                                 )
 8                                     )
   CHRISTOPHER J. BIGGERS,             )
 9                                     )
               Defendant-Appellee.     )                             ORDER
10 ____________________________________)
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                    Presently before the court is the government’s motion to correct a clerical error in the
12
     judgment of conviction as to Christopher J. Biggers. (Doc. #136). Mr. Biggers has not responded.
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            On March 23, 2012, this court granted Mr. Biggers’ motion to vacate sentence pursuant to
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     18 U.S.C. § 2255. The court vacated the previous judgment of conviction and reentered it to enable
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     Mr. Biggers to file a notice of appeal. In reentering the judgment of convection, however, the final
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     order of forfeiture was not attached to the judgment.
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            Pursuant to Fed. R. Crim. P. 32.2(b)(4)(B), “The court must also include the forfeiture order,
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     directly or by reference, in the Judgment, but the court’s failure to do so may be corrected at any time
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     under Rule 36.”
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            Here, the judgment does not include the forfeiture order. Therefore, pursuant to this court’s
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     authority under Fed. R. Crim. P. 36 to correct clerical errors in judgment, the court orders that the
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     forfeiture order be included in the judgment of conviction.
23
            Accordingly,
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            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the government’s motion
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     to correct clerical error (DOC. #136) be, and the same hereby is, GRANTED.
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     ...
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     ...
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 1         IT IS FURTHER ORDERED that the clerk of the court attach a copy of this court’s forfeiture
 2 order (doc. #128) to the judgment of conviction (doc. #135).
 3         DATED March 28, 2012.
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 5                                                     ___________________________________
                                                       JAMES C. MAHAN
 6                                                     UNITED STATES DISTRICT JUDGE
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